                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                               NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                      )         SEALED
                                              )
       v.                                     )         No. 2:19-cr-00013
                                              )
GEORGIANNA A.M. GIAMPIETRO                    )

                                             ORDER

       The Government shall file a Supplemental Motion to Designate this Matter as a Complex

Case that is accompanied by an affidavit or affidavits establishing the appropriate factual basis for

that designation. Within seven (7) days of the supplemental filing, Defendant shall file a response

if she objects to this matter being declared complex.

       A further status conference will be held on October 17, 2019 at 4:00 p.m. The parties shall

meet and confer in an effort to agree on a comprehensive scheduling order. Prior to the status

conference, the parties shall file their proposed scheduling order, noting any disagreement as to

specific deadlines and dates. Also before that conference, the Government shall file a copy of the

Federal Register wherein Hay’at Tahrir is designated by the Secretary of State as a foreign terrorist

organization.

       IT IS SO ORDERED.



                                              __________________________________________
                                              WAVERLY D. CRENSHAW, JR.
                                              CHIEF UNITED STATES DISTRICT JUDGE




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